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 Attorneys for Plaintiff

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                                      Civil Action No.:
 Cheskel Lefkowitz,

                               Plaintiff,
        vs.                                           COMPLAINT FOR VIOLATIONS OF THE
                                                      FAIR CREDIT REPORTING ACT

 Nationstar Mortgage, LLC d/b/a Mr. Cooper;
 Experian Information Solutions, INC.; Equifax
 Information Services LLC; Trans Union LLC            DEMAND FOR JURY TRIAL
 a/k/a Transunion

                               Defendants.


        Plaintiff Cheskel Lefkowitz (“Plaintiff”) brings this Complaint against defendants

 Nationstar Mortgage, LLC d/b/a Mr. Cooper, Experian Information Solutions, Inc., Equifax

 Information services LLC and Transunion LLC. (“Defendant” of “Defendants”), and alleges,

 based upon Plaintiff’s personal knowledge, the investigation of counsel, and information and

 belief, as follows:

                                     NATURE OF THE ACTION
        1.      This is an action to recover damages for violations of the Fair Credit Reporting Act,

 15 U.S.C. § 1681, et seq. (the “FCRA”). Defendants have been reporting inaccurate account status

 information about Plaintiff’s Mr. Cooper account. Specifically, starting in August 2022 and going

 through October 2024 when the account was paid off in its entirety, no payments were required

 because the account was first in forbearance and then in a loan modification program. After


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 Plaintiff paid off the loan in its entirety on October 10, 2024, Defendants reported his account as

 180 days late as of September 2024.

            2.       Although Plaintiff disputed the reporting, Defendants failed to correct the reporting.

            3.       Defendants failures to remove the inaccurate account status has damaged and

 continues to damage Plaintiff by preventing him from being approved for financing and obtaining

 credit at the most favorable market rates. Plaintiff has also been forced to deal with the aggravation

 and humiliation of a poor credit score. Accordingly, Plaintiff is entitled to damages.

                                              PARTIES
            4.       Defendant Nationstar Mortgage, LLC d/b/a Mr. Cooper (“Mr. Cooper”)1 is a

 foreign corporation organized under the laws of the State of Texas, with its principal place of

 business at 350 Highland Drive, Lewisville, Texas 75067.

            5.       Defendant Experian Information Solutions, Inc (“Experian”) is a foreign

 corporation headquartered at 475 Anton Blvd., Costa Mesa, CA.

            6.       Defendant Equifax Information Services LLC (“Equifax”) is a limited liability

 company organized under the laws of the State of Georgia, with its principal place of business at

 1550 Peachtree Street NW, Atlanta, Georgia, 30309.

            7.       Defendant Trans Union LLC a/k/a Transunion (“Transunion”) is a limited liability

 company organized under the laws of the state of Delaware, with its principal place of business at

 555 West Adams Street, Chicago, Illinois 60661. 2

            8.       All Defendants qualify as a “consumer reporting agency” under the FCRA.

            9.       Plaintiff is an individual with an address at 1122 49th Street, Brooklyn, NY 11219.




 1
     Mr. Cooper shall be refereed to as the “Furnisher Defendant”
 2
     Experian, Equifax and Transunion shall be referred to collectively as the “Defendant CRAs”


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                                   JURISDICTION AND VENUE
         10.      The claims asserted in this complaint arise under §1681e(b) and §1681i of the

 FCRA. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331

 and 15 U.S.C. §1692k.

         11.      Venue is proper in this District under 28 U.S.C. §1391(b).

                                       STATEMENT OF FACTS
         12.      Mr. Cooper is the issuer of the Mortgage account (“Mr. Cooper Account”) with the

 account number 713986XXX in credit reports supplied to Plaintiff by Defendant CRAs.

         13.      The Mr. Cooper account is being reported with inaccurate information regarding

 its status.

         14.      In or about August 2022, Plaintiff and Mr. Cooper entered into a forbearance

 agreement. As part of the forbearance agreement, Plaintiff was not required to make any payments

 to Mr. Cooper.

         15.      Towards the end of the forbearance period, Plaintiff submitted a loan modification

 application to Mr. Cooper.

         16.      Plaintiff was told that while loan modification application is being reviewed and

 during the loan modification trial period, his loan will not be reported as delinquent.

         17.      On October 10, 2024, during the loan modification trial period, Plaintiff paid off

 the entire balance on the loan.

         18.      After Plaintiff paid off the entire balance on the loan, the Defendant CRAs reported

 his account as late for September 2024.

         19.      The inaccurate reporting of this account has caused significant damage to Plaintiff’s

 credit score. The erroneous indication of a lateness has resulted in a lowered credit score, making

 it more difficult for the Plaintiff to obtain credit.




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        20.     Mr. Cooper has failed to ensure accurate reporting of this account.

                                          COUNT I
     Willful and Negligent Reporting of Inaccurate Information to Consumer Reporting
                                          Agencies
                             (15 U.S.C. §§ 1681s-2, 1681o 1681n)
                               As to the Furnisher Defendant

        21.     Plaintiff repeats and realleges the foregoing allegations as if set forth in full herein.

        22.     The FCRA prohibits furnishers from reporting information to a CRA “with actual

 knowledge of errors” and “after notice and confirmation of errors”

        23.     The Furnisher Defendant reported inaccurate account information regarding the

 Mr. Cooper account to the Defendant CRAs, which was incorporated into Plaintiff’s credit file and

 credit reports issued by the Defendant CRAs.

        24.     The Furnisher Defendant received notice of Plaintiff’s Notice of Dispute regarding

 the accuracy of his account information as reported to the Defendant CRAs.

        25.     As a result of the Furnisher Defendant’s willful and negligent contuct in violation

 of the FCRA, Plaintiff has been damaged and is entitled to actual, statutory, and punitive damages,

 and recover of attorney fees and costs incurred.

                                         COUNT II
     Willful and Negligent Reporting of Inaccurate Information to Consumer Reporting
                                          Agencies
                         (15 U.S.C. §§ 1681i, 1681e(b) 1681o 1681n)
                                   As to Defendant CRAs
       26.     Defendants are liable for willfully, or at least negligently, failing to follow

 reasonable procedures to ensure the maximum possible accuracy of the account status information

 reported on Plaintiff’s Hyundai account, in violation of 15 USC §1681e(b)

        27.     Defendants are also liable for willfully, or at least negligently, failing to conduct a

 reasonable investigation to determine whether the disputed information was inaccurate and by

 reinserting the disputed information back into Plaintiff’s consumer report.



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        28.      Plaintiff is thus entitled to actual damages, statutory damages, punitive damages

 and attorney’s fees and costs.

                                      PRAYER FOR RELIEF
 WHEREFORE, Plaintiff demands a judgment:

    a) awarding Plaintiff statutory money damages, actual damages and punitive damages;

    b) awarding attorney’s fees and costs, and other relief; and

    c) awarding such other relief as to this Court may seem just and proper.

                                         JURY DEMAND
 Plaintiff demands a trial by jury.




 DATED: April 29, 2025                        ZAGHI LAW GROUP, PLLC.


                                              /s/Nisan Zaghi
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                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is not

 related to any other action, pending arbitration, or administrative proceeding currently pending in

 any court.

        I further certify under penalty of perjury that the statements made in this complaint are true

 and correct.




                                                              /s/ Nisan Zaghi____
                                                              Nisan Zaghi




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